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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO._________________

 ALEX ZELENKA,

                 Plaintiff,

 vs.

 PALM BEACH COLLISION CENTER, INC.,
 a Florida corporation, and MICHAEL
 GHRAYEB, individually,

             Defendants.
 ________________________________________/

                                            COMPLAINT

         Plaintiff, ALEX ZELENKA, by and through undersigned counsel, sues the Defendants,

 PALM BEACH COLLISION CENTER, INC., (hereinafter, “Company”), and MICHAEL

 GHRAYEB, individually, (hereinafter, collectively referred to as “Defendants”) and alleges as

 follows:

         1.      Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.

         2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).

         3.      The unlawful employment practices alleged herein occurred and/or were committed

 within this judicial district.

         4.      At all times material hereto, Plaintiff is/was a resident of this judicial district, an

 employee of the Defendants, sui juris and otherwise within the jurisdiction of this Court.
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        5.      At all times material hereto, Defendant, Company, was the employer or former

 employer of the Plaintiff and is conducting business in this judicial district and is otherwise an

 ‘employer’ under the FLSA.

        6.      That at all times material hereto, Defendant, MICHAEL GHRAYEB, individually,

 acted directly in the interests of her employer, the Defendant, Company, in relation to the Plaintiff,

 and this individual Defendant exercised the requisite legal control and otherwise administered the

 illegal acts as described herein on behalf of the Defendant, Company, and is otherwise an ‘employer’

 under the FLSA.

        7.      At all times material hereto, Defendants were and continue to be an ‘enterprise

 engaged in commerce’ within the meaning of the FLSA.

        8.      That at all times material hereto, Plaintiff was ‘engaged in commerce’ within the

 meaning of the FLSA.

        9.      Defendants have been at all times material engaged in interstate commerce, and

 Defendants’ annual gross revenues derived from this interstate commerce, upon information and

 belief, are in excess of $500,000.00 for the relevant time period.

        10.     The Plaintiff was hired as a non-exempt employee by the Defendants and worked for

 thirteen weeks in 2018 (beginning in October of 2018) and an additional thirteen weeks in 2019

 (ending on March 30, 2019).

        11.     Throughout that time, Plaintiff worked forty-nine (49) hours per week for which

 Defendants paid him $300.00 per week.

        12.     This would equate to an hourly rate of $7.50 per hour, with an overtime rate of

 $11.25.

        13.     Over the nine overtime hours per week, Plaintiff is owed $101.25 per week in unpaid

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 overtime wages.

          14.    During his six month tenure, this amounts to an estimated $2,632.50 in total unpaid

 overtime.

          15.    All records concerning the number of hours actually worked by Plaintiff are

 presumably in the exclusive possession and sole custody and control of the Defendants, and

 therefore, Plaintiff is unable to state at this time the exact amount due.

          16.    Plaintiff, however, will exert diligent efforts to obtain such information by

 appropriate discovery proceedings, to be taken promptly in this case, and if required, an amendment

 to this Complaint will be submitted to set forth an amount due by the Plaintiff.

                                            COUNT I
                                         FLSA - COMPANY

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 16

 above.

          17.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

          18.    By reason of the intentional, willful and unlawful acts of the Defendant, Company in

 violation of the FLSA, Plaintiff has suffered damages.

          WHEREFORE, Plaintiff demands judgment against the Defendant, Company for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                          COUNT II
                                   FLSA–MICHAEL GHRAYEB

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 16 of



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 this Complaint.

           19.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

           20.    By reason of the intentional, willful and unlawful acts of the Defendant, MICHAEL

 GHRAYEB in violation of the FLSA, Plaintiff has suffered damages.

           WHEREFORE, Plaintiff demands judgment against the Defendant, MICHAEL GHRAYEB

 for all damages and relief under the FLSA, including liquidated damages (and/or pre-judgment

 interest), attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and

 proper.

                                        DEMAND FOR JURY TRIAL

           Plaintiff demands a trial by jury on all counts.

           Dated: September 30, 2019.             Respectfully submitted,

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